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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                             District of Columbia
                                              __________     District of __________


                  United States of America                      )
                             Plaintiff                          )
                                v.                              )      Case No. 21-cr-660-RBW
                  Daniel Michael Morrisey                       )
                            Defendant                           )

                                                APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Daniel Michael Morrissey                                                                                      .


Date:          04/18/2022                                                                Anthony M. Solis /s/
                                                                                           Attorney’s signature


                                                                               Anthony M. Solis, #466104 (DC Bar)
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